Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 1 of 8 PageID: 448




                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

                                                                )
    STRATEGIC DELIVERY SOLUTIONS,                               )
    LLC,                                                        ) Civil Action No. 2:18-C V-$779-MCA-SCM
                                                                )
                         Plaintiff,                             )       DISCOVERY CONFIDENTIALITY
                                                                                       ORDER
    v.                                                          )
                                                                )
    STALLION EXPRESS, LLC, TIMOTHY                              )
    KRAVITZ, CHRISTOPHER SAHADI, JANE                           )
    DOE(S) 1-3, and JOT-IN DOE(S) 1-3.                          )
                                                                )
                         Defendants.                            )
                                                                )
         It appearing that discovery in the above-captioned action is likely to involve the disclosure of


confidential information,       it    is ORDERED as follows:


         1.         Any party to this litigation and any third-party shall have the right to designate as


“Confidential” and subject to this Order any information, document, or thing, or portion of any


document or thing (the “Designating Party”):                (a) that contains competitively sensitive technical,


marketing, financial, sales or other confidential business information, or          (b)   that contains private or


confidential personal information, or (c) that contains information received in confidence from third


parties, or   (d)   which the Designating Party otherwise believes in good faith to be entitled to protection


under Rule 26(c)(1)(G) of the           Federal   Rules of Civil Procedure and Local Civil Rule   5.3.   Any party


to this litigation or any third party covered by this Order, who produces or discloses any Confidential


material (the “Producing Party”), including without limitation any information, document, thing,


interrogatory answer, admission, pleading, or testimony, shall mark the same with the foregoing or


similar legend: “CONFIDENTIAL” (hereinafter “Confidential”).
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 2 of 8 PageID: 449




         2.    Any party to this litigation and any third-party shall have the right to designate as

“Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion of

any document or thing (also a “Designating Party”) that contains highly sensitive business or personal

information, the disclosure of which is highly likely to cause significant harm to an individual or to

the business or competitive position of the designating party. Any party to this litigation or any third

party who is covered by this Order, who produces or discloses any Attorneys’ Eyes Only material,

(also a “Producing Party”) including without limitation any information, document, thing,

interrogatory answer, admission, pleading, or testimony, shall mark the same with the foregoing or

similar legend: “ATTORNEYS’ EYES ONLY” (hereinafter “Attorneys’ Eyes Only”).

         3.    All Confidential material shall be used by any party in receipt of same (the “Receiving

Party”) solely for purposes of the prosecution or defense of this action, shall not be used by the

Receiving Party for any business, commercial, competitive, personal or other purpose, and shall not

be disclosed by the Receiving Party to anyone other than those set forth in Paragraph 4, unless and

until the restrictions herein are removed either by written agreement of counsel for the parties, or by

Order of the Court. It is, however, understood that counsel for a Receiving Party may give advice and

opinions to his or her client solely relating to the above-captioned action based on his or her evaluation

of Confidential material, provided that such advice and opinions shall not reveal the content of such

Confidential material except by prior written agreement of counsel for the parties, or by Order of the

Court.

         4.    Confidential material and the contents of Confidential material may be disclosed only

to the following individuals under the following conditions:

                a.     Outside counsel (herein defined as any attorney at the parties’ outside law

                firms) and reLevant in-house counsel for the parties;
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 3 of 8 PageID: 450




               b.     Outside experts or consultants retained by outside counsel for purposes of this

               action, provided they have signed a non-disclosure agreement in the form attached

               hereto as Exhibit A;

               c.     Secretarial, paralegal, clerical, duplicating and data processing personnel of the

               foregoing;

               d.     The Court and court personnel;

               e.     Any deponent may be shown or examined on any information, document or

               thing designated Confidential if the Designating Party consents to such disclosure,

               provided they have signed a non-disclosure agreement in the form attached hereto as

               Exhibit A;

                f.    Vendors retained by or for the parties to assist in preparing for pretrial

                discovery, trial and/or hearings including, but not limited to, court reporters, litigation

                support personnel, jury consultants, individuals to prepare demonstrative and

                audiovisual aids for use in the courtroom or in depositions or mock jury sessions, as

                well as their staff, stenographic, and cLerical employees whose duties and

                responsibilities require access to such materials; and

                g.    The parties. In the case of parties that are corporations or other business entities,

                “party” shall mean executives who are required to participate in decisions with

                reference to this lawsuit.

       5.      Confidential material shall be used only by individuals permitted access to it under

Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall not be

disclosed in any manner to any other individual, until and unless (a) outside counsel for the

Designating Party waives the claim of confidentiality, or (b) the Court orders such disclosure.




                                                    3
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 4 of 8 PageID: 451




         6.    With respect to any depositions that involve a disclosure of Confidential material of a

party to this action, counsel may also designate, on the record, all or any portion of deposition

testimony to proceed as Confidential. Counsel shall also have until thirty (30) days after receipt of the

deposition transcript within which to inform all other parties that any additional portions of the

transcript are to be designated Confidential, which period maybe extended by agreement of the parties.

No such deposition transcript shall be disclosed to any individual other than the individuals described

in Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no

individual attending such a deposition shall disclose the contents of the deposition to any individual

other than those described in Paragraph 4(a), (b), (c), (d) and (f) above during said thirty (30) days.

Upon being informed that certain portions of a deposition are to be designated as Confidential, all

parties shall immediately cause each copy of the transcript in its custody or control to be appropriately

marked and limit disclosure of that transcript in accordance with Paragraphs 3 and 4.

         7.    Material produced and marked as Attorneys’ Eyes Only may be disclosed only to the

individuals listed in and subject to the provisions of Paragraphs 4(a) to (d) and (f), but not the parties,

and to such other persons as counsel for the Designating Party agrees in advance or as Ordered by the

Court.

         8.    If counsel for a party objects to a designation of documents, deposition testimony, or

other materials (the “Objecting Party”) as Confidential or Attorneys’ Eyes Only hereunder, the

following procedure shall apply:

               (a)     Counsel for the Objecting Party shall serve on the Designating Party a written

objection to such designation, which shall describe with particularity the documents or information in

question and shall state the grounds for objection. Counsel for the Designating Party shall respond in

writing to such objection within 7 days, and shall state with particularity the grounds for asserting that




                                                    4
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 5 of 8 PageID: 452




the document or information is Confidential or Attorneys’ Eyes Only. If no timely written response

is made to the objection, the challenged designation will be deemed to be void. If the Designating

Party makes a timely response to such objection asserting the propriety of the designation, counsel

shall then confer in good faith in an effort to resolve the dispute.

                 (b)    If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a

document or item of information cannot be resolved by agreement, the Objecting Party shall present

the dispute to the Court initially by telephone or letter, in accordance with Local Civil Rule 37.l(a)(l),

before filing a formal motion for an order challenging the designation. The document or information

that is the subject of the filing shall be treated as originally designated pending resolution of the

dispute.

        9.       All requests to seal documents filed with the Court shall comply with Local Civil Rule

5.3.

           10.   If the need arises during trial or at any Hearing before the Court for any party to disclose

Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice to the

Designating Party and as directed by the Court.

           11.   To the extent consistent with applicable law, the inadvertent or unintentional disclosure

of Confidential or Attorneys’ Eyes Only material that should have been designated as such, regardless

of whether the information, document or thing was so designated at the time of disclosure, shall not

be deemed a waiver in whole or in part of a party or non-party’s claim of Confidentiality or Attorneys’

Eyes Only designation, either as to the specific information, document or thing disclosed or as to any

other material or information concerning the same or related subject matter. Such inadvertent or

unintentional disclosure may be rectified by notifying in writing counsel for all parties to whom the

material was disclosed that the material should have been designated Confidential or Attorneys’ Eyes




                                                      5
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 6 of 8 PageID: 453




Only within a reasonable time after discovery of such inadvertent or unintentional disclosure. Such

notice shall constitute a designation of the information, document or thing as Confidential or

Attorneys’ Eyes Only under this Discovery Confidentiality Order.

       12,     When the inadvertent or mistaken disclosure of any information, document or thing

protected by privilege or work-product immunity is discovered by the Producing Party and brought to

the attention of the Receiving Party, the Receiving Party’s treatment of such material shall be in

accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or mistaken disclosure

of such information, document or thing shall not by itself constitute a waiver by the Producing Party

of any claims of privilege or work-product immunity. However, nothing herein restricts the right of

the Receiving Party to challenge the Producing Party’s claim of privilege if appropriate within a

reasonable time after receiving notice of the inadvertent or mistaken disclosure.

        13.    No information that is in the public domain, or which is or becomes available to a party

from another source rightftilly in possession of such information on a non-confidential basis, shall be

deemed or considered to be Confidential material under this Discovery Confidentiality Order.

        14.    This Discovery Confidentiality Order shall not deprive any party of its right to object

to discovery by any other party or on any otherwise permitted ground. This Discovery Confidentiality

Order is being entered into without prejudice to the right of any party to move the Court for

modification or for relief from any of its terms.

        15.    This Discovery Confidentiality Order shall survive the termination of this action and

shall remain in full force and effect unless modified by an Order of this Court or by the written

stipulation of the parties filed with the Court.

        16.    No later than sixty (60) days after the unappealed or unappealable final judgment or

settlement of this litigation, and pursuant to written request by the Designating Party, all Confidential




                                                    6
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 7 of 8 PageID: 454




Information (including all copies, extracts, summaries, digests and synopses thereof) shall be returned

to the Designating Party or the Receiving Party shall destroy all such documents and certify to the

destruction thereof.

         By their signatures hereto, the undersigned hereby affirm that they have been authorized to

consent to this Discovery Confidentiality Order and agree, on behalf of themselves, their law firms,

and any staff or contract support personnel employed or retained by their firms, that they will strictly

adhere to the terms of this Discovery Confidentiality Order.



         IT IS SO ORDERED.



                                                        -C. PU.
                                                       HON. STEVEN C. MANNION, U.S.M.J.

Dated:




         The undersigned consent to the form, substance and entry of this Order:



 OLENDERFELDMAN LLP                                     3ENESCH, FRIEDLANDER,
 Attorneys for Plaintiff                                COPLAN & ARONOFF LLP
                                                        Attorneys for Defendants



 By:/s/Lauren M. Paxton                                 By:/s/Kevin M. Capuzzi
     Lauren M. Paxton, Esq.                                 Kevin M. Capuzzi, Esq.

 Dated: May 11,2018                                     Dated: May11, 2018




                                                   7
Case 2:18-cv-08779-MCA-SCM Document 23 Filed 05/16/18 Page 8 of 8 PageID: 455




                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY

                                                                  )
     STRATEGIC DELIVERY SOLUTIONS,                                )
     LLC,                                                         ) Civil Action No. 2:18-C V-8779-MCA-SCM
                                                                  )
                            Plaintiff,                            )       AGREEMENT TO BE BOUND BY
                                                                  )       DISCOVERY CONFIDENTIALITY
     v.                                                           )                     ORDER
                                                                  )
     STALLION EXPRESS, LLC, TIMOTHY                               )
     KRAVITZ, CHRISTOPHER SAHADI, JANE                            )
     DOE(S) 1-3, and JOHN DOE(S) 1-3.                             )
                                                                  )
                            Defendants.                           )
                                                                  )
I,                                             ,   being duly sworn, state that:


              1.        My present employer is                                            and   the   address   of my
present employment is__________________________________


              2.        My present occupation or job description is________________________________


              3.        I have carefully read and understood the provisions of the Discovery Confidentiality
Order in this case signed by the Court, and I will comply with all provisions of the Discovery
Confidentiality Order.


              4.        I will hold in confidence and not disclose to anyone not qualified under the Discovery
Confidentiality Order any Confidential Material or any words, summaries, abstracts, or indices of
Confidential Information disclosed to me.


              5.        I will limit use of Confidential Material disclosed to me solely for purpose of this
action.


              6.        No later than the final conclusion of the case, I will return all Confidential Material and
summaries, abstracts, and indices thereof which come into my possession, and documents or things
which     I       have prepared relating thereto, to counsel for the party for whom   I   was employed or retained.



              I   declare under penalty of perjury that the foregoing is true and correct.


Dated:______________________
                                                                                                  [Name]




                                                              8
